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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )
                         )
     v.                  )                               Cr. No. 09-10166-MLW
                         )
SALVATORE F. DIMASI and )
RICHARD W. MCDONOUGH,    )
     Defendants.         )


                                          ORDER

WOLF, D.J.                                                                June 24, 2011

     The court has received defendant Salvatore DiMasi's June 23,

2011 Motion for CJA Funds for Trial Transcripts (the "Motion").

DiMasi requests that the trial testimony of Steven Topazio and

Joseph    Lally      be     prepared    on     an    expedited    basis     for    use    in

connection with DiMasi's motions for acquittal or a new trial,

which    are   due     by    June   30,      2011.      DiMasi    also    requests       the

preparation       of      transcripts     of    all    other     pretrial    and    trial

proceedings. DiMasi's convicted codefendant Richard McDonough, who

has retained rather than court-appointed Criminal Justice Act

counsel, has not ordered any transcripts.

     The stenographer has informed the court that it is not

possible to prepare the requested expedited transcripts before the

June 30, 2011 deadline for the filing of the motions for acquittal

or a new trial, which the court does not intend to extend.

Moreover, the court questions whether the full transcripts of the

testimony of Lally and Topazio are necessary to the preparation of

those motions by DiMasi's trial counsel.                   Therefore, the request
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for expedited transcripts is hereby DENIED without prejudice to

those transcripts being prepared at the regular pace and price.

      To     the   extent   DiMasi    requests   all   transcripts    on    the

stenographer's outline, which was appended to the Motion, that

request is hereby ALLOWED.1          It is in the interest of justice to

have the preparation of the transcripts needed for appeal begin

promptly in order to minimize the time necessary for this case to

be resolved.        In preparing the requested transcripts, priority

should be given to transcripts of the trial and to transcripts of

any pretrial proceedings designated by DiMasi, on or before June

29, 2011, as particularly important.

      If, as DiMasi's counsel focuses on preparing his post-trial

and   appellate      submissions,    they   conclude   that   transcripts    of

certain proceedings are not necessary, they shall notify the

stenographer forthwith so that Criminal Justice Act funds will not

be unnecessarily expended.

      The government and McDonough are reminded that if they want

copies of any or all of the transcripts, they must obtain them from


      1
      The stenographer shall, as requested by DiMasi, prepare
transcripts of the proceedings which were closed to the public.
Those transcripts are hereby SEALED. The parties may move to
unseal any or all of them. If information under seal is included
in any submission, it shall be filed initially under seal and a
redacted copy shall be filed for the public record. As the fair
trial interests that were the justification for closing some of
the proceedings are no longer operative, submissions made under
seal because of references to such proceedings shall include a
statement of whether the impoundment of the submission is
necessary.

                                        2
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the stenographer at their own expense.




                                              /s/ Mark L. Wolf
                                        UNITED STATES DISTRICT JUDGE




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